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                  10
                                                   UNITED STATES DISTRICT COURT
                  11
                                                 CENTRAL DISTRICT OF CALIFORNIA
~/fir'            12
 Y                13
                               ANTHONY OLIVER,an individual;             Cas
                  14           JAMES KYLE,an individual;                        e/ ~V ~ ~3~~V~~~
                  15                                                     COMPLAINT FOR DECLARATORY,
                                                                         INJUNCTIVE,OR OTHER RELIEF
                  16                          Plaintiffs,
                  17                                                     DEMAND FOR JURY TRIAL
                                     vs.
                  18

                  19           SCRAM OF CALIFORNIA,INC., a
                               California Corporation; ALCOHOL
                  20           MONITORING SYSTEMS,INC., a
                  21           Delaware Corporation; EDMUND G.                       _ PAID
                               BROWN,Jr., in his individual capacity
                  22           and as GOVERNOR;KAMALA D.
                  23           HARRIS,in her individual capacity                    JAN' I i 2oi7
                               and as ATTORNEY GENERAL; and                              us District court
                  24           DOES 1-10, inclusive.                 j                   OURT 4612

                  25
                                              Def~ridants.
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                                                      PLAINTIFFS' COMPLAINT FOR DAMAGES
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   1         Plaintiffs Anthony Oliver,("hereafter Mr. Oliver or Plaintiffs") and James
   2 Kyle,("hereafter Mr. Kyle or Plaintiffs"), complain of Defendants and allege:
   3

   4                                   INTRODUCTION
   5         1.     For the past seven plus years, the State of California, the Superior
   6   Court of California, the California Department of Corrections, as well as County,
   7 City, and State law enforcement agencies acting with the express consent ofthe
   g   current Governor, Edmund G. Brown, Jr.,(`BROWN")and its ChiefLaw Officer,
   9 Kamala D. Harris,("HARRIS"),had and still has a contract in place with two
  10 Corporations known as Scram of California, Inc.,("SCRAM")and its subsidiary
  ii   Corporation Alcohol Monitoring Systems,Inc.,("AMS"). Defendants SCRAM
  12 and AMS produce a device known as the Secure Continuous Remote Alcohol
  13 Monitoring,("hereafter SCRAM Device"), which is an ankle monitor that is very
  14   similar to that of a GPS ankle monitor. However,this particular ankle monitor is
  15 attached to a person's left leg and can monitor the sweat level ofthe person
  16   wearing the SCRAM Device to determine whether or not the wearer had or has
  17 consumed alcohol. Typically, criminal defendants who are often charged with a
  ig   drunk driving related criminal case will be placed on the SCRAM Device.
  19         2.    In or around January of2007,the Defendants SCRAM and AMS had
  20 obtained written contracts with the State of California, and the Superior Court to
  21   provide certain offenders in the criminal justice system with SCRAM monitoring
  22 as a condition of a bond, probation, parole, or even own recognizance.
  23         3.    Defendants SCRAM and AMS parade themselves around the State of
  24   California lurking for government contracts. In an elaborate attempt to gain these
  25 contracts, SCRAM and AMS advertises to the general public, the Government and
  26 the SCRAM and AMS customers that, among other things, the SCRAM Device
  27   was manufactured, designed, or created to determine if a person has consumed
  28 alcohol, and when the SCRAM Device detects alcohol, SCRAM and AMS also

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   1     advertise that the SCRAM Device can determine if the wearer consumed alcohol
   2     or if the wearer tried on a body spray that contains alcohol, used tooth paste that
   3     contains alcohol, or mouth wash. Neither of the two statements have any truth. As
   4     a part of amoney-making scheme that will likely be the next biggest Ponzi scheme
   5     in the Country, Defendants SCRAM and AMS will continue to dupe people like
   6     BROWN and HARRIS who knew, and still knows that the SCRAM Device is not
   7     what SCRAM and AMS advertises.
   8             4.   As a severe consequence ofthe faulty device produced by SCRAM
   9     and AMS,and the intentional misrepresentations they make to City, County, State,
  10     and government agencies nationwide, each year hundreds if not thousands of said
  11     innocent people, Defendants, and people just trying to make it in life are returned
  12     to incarceration based on facts that the SCRAM Device creates false consumption
  13     and tamper reports. Further, SCRAM and AMS even admits to several agencies
  14     that they do not maintenance their SCRAM Device for at least six(6) months to a
  15     year.
  16             5.   For these reasons, Plaintiffs ask this Court to enjoin, preliminarily and
  17     permanently order the State Defendants to cease and desist any and all transactions
  18     in the State of California, and the United States of America.
  19                               VENUE AND JURISDICTION
  20             6.   This case raises questions under the Constitution ofthe United States
  21     and 42 U.S.C. § 1983, and thus this Court has jurisdiction over all claims for relief
  22     pursuant to 28 U.S.C. § 1331.
  23             7.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
  24     the State Defendants resides in this district and all Corporate Defendants transact
  25     business in this District. Venue is also proper in this Court because a substantial
  26     part ofthe events giving rise to these claims occurred in this District.
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   1                                 NATURE OF DISPUTE
   2          8.     This action pursuant to 42 U.S.C. § 1983 seeks(1)a declaration that
   3 the SCRAM and AMS alcohol ankle monitor is faulty, corrupt, and is a product
   4 that should be removed from the market. Further, the Corporate Defendants have
   5    designed a device that puts innocent people in jail, causes them to lose everything
   6 they own and simultaneously is unconstitutional under the Due Process and Equal
   7 Protection Clauses ofthe Fourteenth Amendment to the United States Constitution,
   g    and (2)a preliminary and permanent injunction preventing the State Defendants
   9 from continuing their contracts with SCRAM and AMS.
  10          9.     In an abundance of caution, and to the extent the State Defendants
  11    continued their contracts with SCRAM and AMS,Plaintiffs seek to prevent any
  12 continued and future harm to not only innocent people, but also the tax payers of
  13    the State of California. Often times, the tax payers must pick up the tab in the eyes
  14    ofthe Superior Court to pay for experts to testify just how corrupt and flawed the
  15 SCRAM Device really is, costing the tax payers hundreds ofthousands of dollars
  16 in money each year all while SCRAM and AMS stuff their wallets with billions of
  1'1   dollars each year. Citizens ofthe State of California, including criminal Defendants
  18 and the Plaintiffs are denied their Equal Protection and Due Process Clauses of the
  19    Fourteenth Amendments to the United States Constitution every day as more often
  20 than not, a City, State, or Municipal Judge will often just issue a bench warrant for
  21    the Defendants arrest without even holding a hearing to determine whether or not
  22 the wearer ofthe SCRAM Device actually consumed alcohol. Defendants SCRAM
  23 and AMS are given special perks by being able to send letters, emails, and faxes
  24    directly to Judges across the United States seeking a bench warrant after furnishing
  25 the judge with a flawed and corrupt consumption report. Any other person sending
  26 those documents would be deemed to be having an illegal ex parte communication
  27 with a Judge.
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   1            10.   To enforce the rights afforded by the United- States Constitution, the
   2 Plaintiffs bring this suit pursuant to 42 U.S.C. § 1983 seeking declaratory and

   3   injunctive relief against the enforcement ofthe SCRAM and AMS contracts that
   4   are current with the State Defendants. Plaintiffs also seek to recover all oftheir
   5 ~ costs, and expenses incurred in this action and any other relief that this Court may

   6   order.
   7                                       THE PARTIES
   8            11.   Plaintiff Anthony Oliver,("OLIVER")is a citizen ofthe State of
   9   Texas, resides in Dallas County, is over the age of eighteen years old and will be
  10 !, ~ mentioned herein at all times.

  11            12.   Plaintiff James Kyle,("KYLE")is a citizen ofthe State of California,
  12   resides in Los County, is over the age of eighteen years old and will be mentioned
  13   herein at all times.
  14            13.   Defendant, Scram of California, Inc.,("SCRAM")is a California
  15   corporation with its national headquarters located in Los Angeles, California.
  16   Defendant is a local distributer and provider of AMS's devices and services in this
  17   District, and elsewhere throughout California.
  18            14.   Defendant, Alcohol Monitoring Systems,Inc.,("AMS")is a Delaware
  19   corporation with its national headquarters located in Littleton Colorado. Defendant
  20   AMS is a nationwide provider of alcohol monitoring devices and services to state
  21   and federal law enforcement agencies, courts, as well as any and other private
  22   entities such as rehabilitation centers. Defendant AMS is registered in California
  23   and provides alcohol monitoring services in California, including in this District,
  24   and elsewhere throughout the United States.
  25            15.   Defendant Edmund G. Brown,("BROWN")is the Governor of the
  26   State of California. In his official capacity, the Governor is the chief executive
  27   officer ofthe State of California. It is his responsibility to ensure that the laws of
  28   the State are properly enforced. The Governor maintains an office in Los Angeles,

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   1   California.
   2          16.    Defendant Kamala D. Harris,("HARRIS")is the Attorney General of
   3   the State of California. In her official capacity, the Attorney General is the chief
   4   law officer ofthe State of California. It is her responsibility to ensure that the laws
   5   ofthe State are properly enforced. The Attorney General maintains an office in Los
   6   Angeles, California.
   7          17.    Plaintiffs is currently ignorant ofthe true names)and the capacities,
   8   whether individual, corporate, associate, or otherwise, ofthe Defendants sued
   9   herein under the factious names DOES 1 through 10, inclusive, and therefore, sues
  10   such civil Defendants by such fictitious names. Plaintiffs will seek leave to amend
  11   this Complaint to allege the true names and capacities of said fictitiously named
  12   Doe Defendants is legally responsible in some manner for the events and is also
  13   sued pursuant to California Code of Civil Procedure 474.
  14         18.     Plaintiffs is informed and believes and thereon alleges that the
  15   Defendants, including the fictitious Doe Defendants, were at all times acting as
  16   actual agents, conspirators, ostensible agents, partners and/or joint ventures and
  17   their employees of all other Defendants, and that all acts alleged herein occurred
  18   within the course and scope of said agency, employment, partnership, and joint
  19   venture, conspiracy, or enterprise, and with the express and/or implied permission,
  20   with all such knowledge, consent, authorization and ratification oftheir own co-
  21   Defendants however, each ofthese allegations are deemed "alternative" theories
  22   whenever not doing so would result in a contraction with the other allegations.
  23         19.     Whenever the Complaint refers to any act of the Defendants, the
  24   allegations shall be deemed to mean the act ofthose Defendants names in the
  25   particular cause of action, and each ofthem, acting individually,jointly and
  26   severally.
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   1                           STATEMENT OF THE FACTS
   2          20. Defendants are providers of alcohol monitoring services and devices
   3 to state and federal law enforcement agencies, courts, as well as various private
   4 entities. The alcohol monitoring device used by Defendants is called the SCRAM
   5   Continuous Alcohol Monitoring system (the "SCRAM Device").
   6         21.    The SCRAM Device is approximately the size of a deck of cards and
  '1   is placed on the wearer's ankle using a strap. The Scram Device is a transdermal
   8   monitoring device that was designed to detect and record any instances when the
   9 wearer had consumed alcohol by detecting alcohol vapors caused by ingested
  10 alcohol diffusing through the skin. The majority of Defendants' business consists
  11   of providing alcohol monitoring services to individuals as part of court mandated
  12 rehabilitation programs, as a condition of probation or bond, or other purposes
  13 related to the criminal justice system.
  14         22,    While Defendants are selected by state and federal agencies and
  15   courts to provide monitoring services for criminal defendants and other individuals
  16   ~,ho become involved in the criminal justice system, it is such individuals who are
  17 ultimately Defendants' customers and choose to purchase Defendants' alcohol
  ig   monitoring service as an alternative form of monitoring offered by the state or
  19 federal agency or court. Defendants enter into private contracts with each such

  20 individual to provide them their alcohol monitoring services, and directly charge
  21 them a monthly fee. Defendants advertise their SCRAM Device as acost-effective
  22 and accurate alternative for law enforcement agencies and courts to track the
  23 alcohol usage of at-risk individuals such as those charged with driving under the
  24 influence or other crimes relating to consumption of alcohol. Specifically, the
  25 SCRAM Device is meant to be worn 24/7. The wearer is instructed to once a day
  26 connect the SCRAM Device to a special docking station connected to the Internet

  27 to upload the monitoring data collected by the device throughout the day.
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   1         23.    Once the device is connected, the data is sent to a central data center
   2   in Colorado operated by AMS. There,the data is reviewed to determine if any
   3   monitoring "event" occurred that indicates that the wearer ingested alcohol.
   4         24.    Unlike blood alcohol monitoring that directly detects the level of
   5   alcohol present in the blood stream, Defendants' SCRAM Device relies on
   6   transdermal alcohol monitoring, which operates by detecting the amount of alcohol
   7   that evaporates through the skin. Because the rate at which alcohol evaporates
   8   through the skin is significantly different than the rate at which alcohol is
   9   metabolized and detected in the blood stream, transdermal alcohol monitoring
  10   requires the use of an algorithm to approximate the blood alcohol content ofthe
  11   wearer based on the amount of alcohol vapor detected at the skin surface.
  12         25.    Because transdermal alcohol monitoring measures the amount of
  13   alcohol evaporating through the wearers' skin, the SCRAM Device is by its design
  14   susceptible to detecting "false-positive" alcohol readings as a result of what
  15   Defendants term to be "environmental alcohol." That is, alcohol vapors that
  16   wearer's encounter on an everyday basis that may come in contact with the
  17   SCRAM Device. Environmental alcohols take many forms, and many everyday
  18   products contain alcohol that evaporates upon exposure to air and can trigger a
  19   SCRAM Device to detect alcohol vapors. For example, body spray, cologne,
  20   aftershave, hand sanitizer, household cleaners such as Windex, gasoline, and many
  21   other products that most individuals come across on a day-to-day basis contain
  22   alcohol that evaporates into the atmosphere.
  23         26.    Given the placement of the SCRAM Device against the wearer's skin
  24   on their or her ankle, and the fact that the SCRAM Device is designed to detect the
  25   presence of alcohol in the air surrounding the wearer, any environmental alcohol
  26   present near or around the device will lead to the device detecting the presence of
  27   alcohol vapors even if the wearer had not ingested any alcohol themselves.
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   1         27.    Defendants advertise to the public and the governmental agencies
   2 with whom they seek to work with, that the SCRAM Device is capable of
   3 determining the difference between alcohol vapors that are detected as a result of
   4 "ingested alcohol" and alcohol vapors that are detected as a result of
   5 "environmental alcohol."
   6         28.    Further, the individuals who ultimately purchase Defendants' alcohol
   ~   monitoring services, are not in any way informed that the SCRAM Device could
   g   even register any false-positive test results due to environmental alcohol before
   9 making the decision to purchase Defendants' alcohol monitoring service and
  10 submit to monitoring via the SCRAM Device. However, Defendants misrepresent
  ii the risk offalse-positive test results as a result of environmental alcohol. In fact,
  12 numerous sources have documented instances offalse-positive test results recorded
  13   by the SCRAM Device when the wearer was proven to have not consumed any
  14 alcohol
  15         29.    For example, in one instance a criminal defendant in Oakland County
  16 Michigan was fitted with the SCRAM Device as a condition of being released on

  17 bond following a car accident. Subsequently, the court was notified ofthree
  ig   drinking episodes that were potential violations of the conditions of the bond, and a
  19 bond revocation hearing was held. However, at the hearing, the Honorable Dennis

  20 Powers ofthe Novi District Court determined that the SCRAM Device was in fact
  21 unreliable and that the events detected were false-positives. Specifically, according
  22 to the data recorded by the SCRAM Device, during the first drinking episode the
  23 wearer consumed alcohol for 63 consecutive hours and maintained an identical
  24 blood-alcohol level at all times—a biological impossibility. The second drinking
 25 episode was detected by the SCRAM Device at the exact same time as when the
 26 wearer was taking abreath-alcohol test that showed no presence of alcohol

 27 whatsoever. The third drinking episode was detected when the wearer was in the
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    1   hospital, and even though the wearer had not consumed any alcohol whatsoever,
   2    the data recorded was identical to data corresponding to some who had internally
   3    ingested alcohol. The court rejected the evidence presented by AMS and in
   4    particular noted that "the SCRAM tether did not meet the requisite standards of
   5    `reliability' or `general acceptance' in the relevant scientific community" and that
   6 "[t]he body of evidence supplied by the defendant made it clear that the readings

   7    by the SCRAM tether were not necessarily the result of prolonged drinking
   8    episodes."
   9          30.    As another example, another criminal defendant was ordered by the
   10   Court in Ramsey County Minnesota to wear the SCRAM ankle bracelet as a result
   11   of a DUI related offense. The SCRAM device is worn as an ankle bracelet which
   12   monitors the migration of alcohol through the offender's skin. The measurements
   13   are then obtained are converted to ablood-alcohol content which is designated as
   14   the TAC,which means Transdermal Alcohol Content.
   15         31.    In this case, on November 9, 2006,the defendants SCRAM device
   16   showed a positive reading for alcohol with a confirmed peak reading .035 TAC.
   17   On November 10, 2006, at approximately 6:00 a.m., the defendants SCRAM
   18   device showed a positive reading for alcohol with an alleged confirmed peak
   19   reading in at .OS TAC. The defendant was notified a week later that he tested
  20    positive for alcohol consumption and that a probation violation report would be
  21    filed against him. The defendant was notified by their attorney and the defendant
  22    got an alcohol test done through a certified medical lab and the results were
  23    negative. In the very case,just as the same facts as each ofthe Plaintiffs, the
  24    Honorable Edward S. Wilson found SCRAM highly unreliable and based on the
  25    hearing that was held, the trial Court found that SCRAM was not widely accepted
  26    in the scientific community. Further, Judge Edward Wilson also determined that
  27    the SCRAM device that the defendant was wearing was not in proper working
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   1   order on the dates in question. As such, the violation was dismissed.
   2         32.    In a study ofthe accuracy oftransdermal alcohol monitoring utilizing
   3   the SCRAM Device, it was similarly noted that the "methodology used by AMS
   4 ~ cannot separate ethanol from other contaminating alcohols and therefore is not a

   5   reliable method." This is of particular significance because ingested alcohol is
   6   specifically comprised of ethanol. Thus, any device intended to measure an
   7   individual's blood alcohol content that is not specific to ethanol will detect all
   8   types of alcohols, including those that are not ingested by an individual. The
   9   SCRAM Device utilizes "fuel cell" technology that creates an electric current
  10   when an electrolyte contained within the device comes in contact with chemicals
  11   that has a "hydroxyl" group. The chemicals include isopropyl alcohol(rubbing
  12   alcohol), antifreeze, and many other "alcohols" such as those previously described
  13   above. Because the SCRAM device is not specific to detecting ethanol, any
  14   number of other alcohols that are not ingested by the wearer can result in the
  15   Device registering an "alcohol" reading if they come in contact with the device.
  16         33.    Because the SCRAM Device does not directly measure the wearers'
  17   blood alcohol content, and is not specific to detecting ethanol, a reading by the
  18   SCRAM Device detecting the presence of alcohol vapors is not by itself in any
  19   way indicative that the wearer had actually consumed alcohol. As discussed
  20   above, Defendants have to apply an algorithm to determine whether any readings
  21   collected by the SCRAM Device actually correspond to what Defendants term a
  22 "confirmed alcohol consumption event."

  23         34.    Specifically, Defendants measure the rate at which the alcohol vapor
  24   readings detected by the SCRAM Device increase and decrease in order in order to
  25   determine whether they match the predicted rate at which alcohol vapors are
  26   released as a result of alcohol being metabolized by the human body. In applying
  27   their algorithm to determine whether an "alcohol consumption event" occurred,
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   1   Defendants rely on a general assumption that the rate at which alcohol vapor is
   2 released through the skin following the consumption of alcohol falls within a
   3 certain range for all individuals, regardless of any distinguishing physiological
   4   characteristics (i.e. weight, height, thickness of skin).
   5         35.    Applying this algorithm, Defendants claim to be able to distinguish
   6   between alcohol vapor readings caused by "alcohol consumption events" and
   ~   readings caused by "environmental alcohols," because alcohol vapor readings that
   g   are caused by environmental alcohols are supposed to have a significantly different
   9 rate at which they increase/decrease in comparison to readings that are caused by
  10 ingestion of alcohol. Because the raw data produced by the SCRAM Device is by
  11   itself oflimited use in determining whether the wearer actually consumed alcohol,
  12 the data has to be sent to AMS'central monitoring facility in Colorado to be
  13 analyzed and for AMS'personnel to apply the algorithm and attempt to determine
  14   Whether an "alcohol consumption event" had occurred.
  15         36.    When a customer of Defendants' alcohol monitoring service connects
  16   their SCRAM Bracelet into the Internet connected docking station each day, the
  17 data collected for that day is sent to AMS for such analysis. If upon analyzing the
  ig   data AMS determines that the alcohol vapor readings were caused by an "alcohol
  19   consumption event," Defendants inform the law enforcement agency or court
  20 exercising jurisdiction over the wearer that based on their analysis ofthe collected
  21   data the individual had consumed alcohol.
  22         37.    However,the individual who was actually wearing the SCRAM
  23 Device, is not in any way informed by Defendants or by the device itself that an
  24 "alcohol consumption event" had occurred, neither at the time when the SCRAM
  25   Device is actually recording the alcohol vapor readings, nor when AMS concludes
  26   its analysis ofthe data and informs the law enforcement agency or the court.
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   1             38.    In fact, the SCRAM Device is not designed to, and does not actively
   2       inform the wearer in real-time when it is detecting alcohol vapors. Even ifthe
   3       SCRAM Device records alcohol vapor readings continuously for 24 hours, when
   4       the wearer connects the SCRAM Device to the docking station to upload the data,
   5       the SCRAM Device will simply flash a green light to inform the wearer that the
   6       upload was successful. Because the vast majority of Defendants' customers
   7       purchase the transdermal alcohol monitoring service as part of a condition oftheir
   8       bond or probation, a report to a law enforcement agency or judiciary that an
   9       individual has been determined to have consumed alcohol will often be considered
  10       a violation of the conditions of any such bond or probation and trigger a hearing
  11       revoking the bond/probation.
  12             39.    However, because Defendants' customers are not timely notified
  13       when the SCRAM Device detects the presence of alcohol vapors, when the data is
  14       uploaded daily to AMS,or even when AMS sends a report stating that an "alcohol
  15       consumption event" has occurred, they often do not discovery that they had
  16       supposedly violated the conditions oftheir bond or probation until several days
  17       after the "alcohol consumption event" had occurred.
  18             40.    Thus, Defendants' customers who wish to dispute any finding that
  19       they violated the terms oftheir bond/probation are unable to obtain evidence that
  20       could allow them to challenge the revocation oftheir bond/probation because by
       I
  21       the time they are made aware ofthe potential violation, due to the rate of alcohol
  22       metabolism in the human body, Defendants' customers cannot obtain a timely
  23       blood or breath alcohol test that could definitively show that they did not consume
  24       alcohol at the time indicated by the SCRAM Device.
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   1         1.     Anthony Oliver
   2         41.    Plaintiff Anthony Oliver,("Mr. Oliver or Plaintiff'), was on the
   3 evening of February 27,2016, driving to Camp Pendleton in San Diego California
   4   when he was pulled over by a California Highway Patrol officer. The officer
   5 suspected that Plaintiff had been drinking and performed a preliminary alcohol
   6 screening test using a handheld Breathalyzer device. The officer then placed
   ~   Plaintiff under arrest for driving while under the influence.
   g         42.    Soon after he was arrested, Plaintiff was brought to a San Diego
   9 Sheriff's police station, where he was administered another, more extensive
  10 Breathalyzer test. While unknown to him at the time, Plaintiff's blood alcohol
  11   content was recorded as being under the legal limit.
  12         43.    Plaintiff was thereafter released, and a hearing date was set for his
  13 arraignment on the driving under the influence charge was set for April 14, 2016,
  14 at approximately 10:00 am.
  15         44.    On April 14, 2016,Plaintiff pleaded not guilty to the driving under the
  16   influence charge. Plaintiff was given the choice of being released on bond pending
  17 further adjudication ofthe charges on the additional condition that he be monitored
  ig   by Defendants and wear the SCRAM Device. At the time ofthe hearing Plaintiff
  19 ~,~,as not in any way informed that the SCRAM Device is capable of detecting

  20 environmental alcohols, that there was a possibility it could detect false-positives,
  21   or that the SCRAM Device would not actually inform the Plaintiff that it had
  22 detected alcohol vapors, before Plaintiff agreed to the conditions ofthe bond and to
  23 purchase Defendants' monitoring services.
  24         45.    Upon conclusion ofthe hearing Plaintiff was taken to the nearby jail
  25   where he was searched, relieved of his belongings, and put into a jail cell to wait
  26 for a SCRAM of California employee to arrive and attach the SCRAM Device to

  27 his ankle. Even though Plaintiff had posted his bail amount by 5:00 pm that day,
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   1   April 14, Plaintiff was nonetheless detained for over 12 additional hours to wait for
   2 a SCRAM of California employee to arrive.
   3         46.    The SCRAM of California employee eventually arrived on the
   4   morning of April 15, 2016. Even though the employee did not work for any state
   5 agency, court, or in law enforcement,the employee had a key to the jail cell where
   6 Plaintiff was being detained.
   ~         47.    The SCRAM of California employee entered Plaintiff's cell so that
   g   she could fulfill the conditions of Plaintiff's bond and place the SCRAM Device on
   9 his left ankle, but was unable to get the SCRAM Device secured without additional
  10 equipment. To get the device placed on Plaintiff, the employee "signed" Plaintiff
  ii   out ofthe jail facility so that she could escort him to her nearby office where she
  12 would be able to place the SCRAM Device on Plaintiff. The employee was
  13   officially given custody over Plaintiff and all of his personal belongings that were
  14 taken from him before he was placed in jail.
  15         48.    Upon taking custody ofPlaintiff, the SCRAM of California employee
  16 escorted him to her office, where she was able to fasten a SCRAM Device to his

  17 left ankle.
  ig         49.    After Plaintiff had the SCRAM Device placed on his ankle, the
  19   SCRAM of California employee had Plaintiff fill out a "Client Intake Form" and
  20 asked him to provide his signature on a credit card sales receipt fora $325.00
  21 payment which she stated was the initiation fee for Defendants' monitoring
  22 service. When Plaintiff inquired how the employee had already obtained payment
  23 for the initiation fee, the employee stated that she took Plaintiff's credit card from
  24 his wallet that was given to her along with Plaintiff's other belongings when she
  25   was given custody of him. Plaintiff never provided his credit card to the employee,
  26 never authorized the employee to charge that particular credit card, and was

  27 generally unaware that the employee had permission to search his personal
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       belongings to find and apply any form of payment.
   2          50.   Plaintiff was then led to another room where he, along with several
   3   other individuals who had similarly purchased Defendants' monitoring services,
   4   saw a short two to three-minute orientation video regarding the SCRAM Device
   5   and general information related to maintaining the SCRAM Device and avoiding
   6   any damage to it. After the video the SCRAM of California employee had a brief
   7   follow-up presentation addressing the video and then talked at length about the
   8   payment instructions and Plaintiff's, and the other said individuals' financial
   9 obligations related to the monitoring service and the SCRAM Device. After the
  10   SCRAM of California employee finished her presentation Plaintiff was released
  11   from custody.
  12          51.   At no time was Plaintiff provided any literature, pamphlet, brochure,
  13   or any other form of documentation regarding the SCRAM Device and the
  14   Defendants' transdermal monitoring service.
  15          52.   Plaintiff was also never informed either through the video or by the
  16   SCRAM of California employee that the SCRAM Device can potentially detect
  17   false-positive alcohol readings. In fact, the SCRAM of California employee
  18   actually reassured Plaintiff and the other individuals present that the SCRAM
  19   Device can distinguish between alcohol vapor readings caused by ingested alcohol,
  20   and those caused by environmental alcohols.
  21         53.    The following week, on Apri120, 2016, at approximately 6:00 pm,
  22   Plaintiff visited a Burlington Coat Factory store in Murrieta California with a
  23   family relative.
  24         54.    While at the Burlington store, Plaintiff shopped for, among other
  25   items, a body spray or cologne. After trying on one ofthe body sprays in the store,
  26   Plaintiff purchased it for future use.
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    1         55.    That evening Plaintiff returned to the hotel where he was staying in
   2    Lake Elsinore, California at approximately 8:00 pm. Plaintiff had plans to meet
   3    with a friend in the evening for dinner in Riverside, California, and upon returning
   4 I to his hotel room Plaintiff took a shower and then put on the body spray that he had

   5    purchased that same day before heading out.
   6          56.    However, at approximately 9:00 pm,before Plaintiff had left his hotel
   7    room, he was informed that his friend was no longer available and canceled their
   8    plans for the evening. Plaintiff decided to stay in for the evening in his hotel room,
   9    and went to sleep shortly thereafter.
   10         57.    Complying with the requirement imposed by Defendants that he
   11   connect his SCRAM Device to the Internet once a day to upload the monitoring
   12   data collected, before going to sleep, at approximately 9:00 pm on Apri120, 2016,
  13 Plaintiff connected his SCRAM Device to the Internet connected docking station

   14   that he was provided. The docking station flashed a green light to indicate that the
  15    upload was successful, but otherwise did not provide any other information to
  16    Plaintiff regarding the data uploaded.
  17          58.    Sometime in the afternoon on Apri121,2016,Plaintiff then again
  18    connected his SCRAM Device to the docking station, which again flashed a green
  19    light to indicate that the upload was successful.
  20          59.    More than a week later, on or about Apri129, 2016,Plaintiff received
  21    a follow up phone call from the same SCRAM of California employee who had
  22    originally placed the SCRAM Device on him and charged him the initiation fee.
  23    The employee sought to verify Plaintiff's payment information and that he would
  24    make the bi-weekly $225.00 payment that was coming due. More importantly,
  25    during this phone call the employee also informed Plaintiff, for the first time that
  26    he had violated the conditions of his bond because his SCRAM Device had
  27    detected alcohol vapors that were determined by AMS to have been caused by the
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   1   consumption of alcohol.
   2         60.    Upon learning this information, Plaintiff immediately investigated
   3   further and discovered that, much to his shock and surprise, on the evening of
   4   Apri120, and into the morning hours of Apri121,the SCRAM Device he was
   5   wearing had detected alcohol vapors.
   6         61.    Plaintiff also discovered that on Apri125, 2016, Defendants sent a
   7   report directly to the court where his driving under the influence charge was being
   8   adjudicated informing it that Defendants had analyzed the data collected from
   9   Plaintiff's SCRAM Device and determined that there was a "confirmed alcohol
  10 ! consumption event" that occurred between Apri120,2016 and Apri121, 2016.

  11         62.    Particularly disturbing to Plaintiff was the fact that at no point
  12   between Apri120, 2016 and Apri121, 2016 was Plaintiff ever informed that the
  13   SCRAM Device had detected alcohol vapors, that Defendants had determined that
  14   an "alcohol consumption event" took place, or even that Defendants had reported
  15   to the court that he had violated the conditions of his bond.
  16         63.    Even though Plaintiff did not consume any alcohol at any time on
  17   Apri120 or Apri121, by the time Plaintiff was made aware of Defendants' report
  18   on Apri129, it was well past the narrow 12-hour window for him to have a blood
  19   alcohol test performed to conclusively prove that he did not consume any alcohol,
  20   or to even obtain a urine alcohol screening that shows whether an individual had
  21   consumed alcohol in the past 80 hours. Following several numerous failed
  22   communications with SCRAM of California regarding how he did not consume
  23   any alcohol between Apri120 and Apri121, and that the recorded readings must
  24   have been the result of an erroneous false positive, on May 18, 2016 Plaintiff filed
  25   a lawsuit against Defendants in the Southern District of California alleging various
  26   claims in relation to the transdermal alcohol monitoring service he had purchased
  27   from Defendants and the false-positive alcohol vapor readings that Defendants'
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   1   SCRAM Device detected and which Defendants reported to the court.
   2         64.    Shortly after Plaintiff filed his federal lawsuit, the same SCRAM of
   3   California employee who had originally placed the SCRAM Device on Plaintiff,
   4   contacted Plaintiff and instructed him to take offthe SCRAM Device. Soon
   5   thereafter Defendants reported to the court where Plaintiff's case was pending that
   6   they would discontinue monitoring Plaintiff.
   7         65.    The transdermal alcohol monitoring report that was sent to the court
   8   by Defendants without Plaintiffs knowledge showed that the supposed "alcohol
   9   consumption event" occurred approximately between 9:00 pm on Apri120, and
  10   12:00 pm on Apri121, with the "peak" alcohol vapor readings being recorded at
  li   midnight on Apri121.
  12         66.    The alcohol vapor readings recorded by the SCRAM Device worn by
  13   Plaintiff that supposedly evidenced Plaintiff consuming alcohol, directly coincided
  14   with Plaintiff's use ofthe body spray that he had purchased earlier that day on
  15   Apri120, and had put on himself shortly before getting into bed to go to sleep at
  16   approximately 9:00 pm.
  17         67.    Because Plaintiff slept under a cover that night, the alcohol
  18   evaporating from the body spray that he had put on could not dissipate into the air
  19   and instead over time gradually increased in concentration under the cover.
  20   Because the SCRAM Device is not specific to detecting ethanol that is contained in
  21   drinking alcohol, and detects all alcohol vapors regardless oftheir source, the
  22   gradual buildup ofthe alcohol vapors released from the body spray Plaintiff had
  23   put on was detected, and Defendants' "algorithm" determined that the readings
  24   constituted an "alcohol monitoring event" simply based on the fact that there was a
  25   gradual rise and fall in the concentration of alcohol vapors detected by the SCRAM
  26   Device under the cover.
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       1         68.    Even though Plaintiff was unable to obtain a timely blood alcohol or
       2 urine screening test, Plaintiff later discovered that there was another alternative
       3 form oftesting that could prove that he did not in fact consume alcohol on Apri120
       4 and April 21. On June 2, 2016,Plaintiff visited a certified medical laboratory and
       5 had a hair follicle test performed that looked for any traces ofthe by-products of
       6 alcohol metabolism from the prior 90 days.
       ~         69.    Because hair follicles are repositories of certain chemicals that are
       g   created when the body ingests drugs or alcohol, and because ofthe nature of how
       9 long hair follicles remain in the scalp, a hair follicle test can be used to determine
      10 whether an individual has consumed alcohol or drugs for a much more extended
      11   period oftime than a blood or urine screening test.
      12         70.    The results of Plaintiff's hair follicle test came back negative for the
      13 presence of ethyl glucuronide, indicating that Plaintiff had not consumed alcohol
      14   on Apri120 or Apri121.
      15         '71.   Mr. Oliver paid a total of $1,250.00 to Scram of California for the
      16   Defendants' alcohol monitoring service.
      17         72.    Mr. Oliver paid a total of$600.00 for a certified hair follicle test from
      ig   a certified laboratory.
      19         '73.   Had Plaintiff known that the SCRAM Device registered false positive
      20 test results, did not timely inform the user when the device was detecting the
      21 presence of alcohol vapors, was unable to distinguish between environmental
      22 alcohols and ingested alcohol, and that Defendants would not timely inform
      23 Plaintiff once they had determined that an alcohol monitoring event occurred,
      24 Plaintiff would have never agreed to purchase Defendants' alcohol monitoring
      25 service as a condition of his bond, and would have petitioned the court for an
      26 alternative means of monitoring.
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       '1         2.     James Kyle
       2          74.    Plaintiff James Kyle,("Mr. Kyle or Plaintiff'), on the evening of
       3 May, 11, 2016, was returning from a concert with his wife. As Mr. Kyle was
       4 attempting to make a turn at the light, Mr. Kyle had a yellow light and decided to
       5    still make the turn. Moments later, Mr. Kyle and his wife were subsequently
       6 sideswiped by another vehicle causing a large accident in the City ofEl Cajon.
       7 Shortly thereafter, police were called to the scene ofthe accident and began
       g    conducting field sobriety tests,("FST's")on Mr. Kyle after police suspected that
       9 Mr. Kyle was under the influence. The police officer on scene indicated that Mr.
      10 Kyle was under the influence and thereafter placed him under arrest for suspicion
      11    of driving under the influence. Police then transported Mr. Kyle to the police
      12 station where Mr. Kyle was able to post bond.
      13          75.    After posting bond, Mr. Kyle was provided with a Court to appear in
      14 San Diego Superior Court. During that time, Mr. Kyle retained a private attorney
      15    and defended against the DUI charge and appear in Court. During his arraignment,
      16 a San Diego Superior Courtjudge ordered Mr. Kyle to wear the SCRAM Device
      17 and a condition of release. On February 5, 2016, Mr. Kyle was enrolled in the
      ig    SCRAM program and continued to be monitored by SCRAM until Mr. Kyle was
      19 ordered discharged.
      20          76.    On Apri12,2016, Defendant SCRAM contacted Mr. Kyle and
      21    informed him for the very first time that Mr. Kyle was allegedly in violation of his
      22 SCRAM conditions. Mr. Kyle was informed that Defendants SCRAM and AMS
      23 received a "confirmed consumption" and that SCRAM and AMS would be
      24    preparing a violation report and sending that report to the Court where Mr. Kyle's
      25 DUI criminal case is pending.
      26          77.    On April 12, 2016, a partial hearing was held by San Diego Superior
      2'1   Court Judge Michael Groch. At that hearing, Judge Groch remanded Mr. Kyle to
      28    custody based on the report that was produced by SCRAM and AMS. The

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     1 following day, Mr. Kyle posted a new bail bond in the amount of$ 300,000. As
     2 such, Mr. Kyle paid a total of$ 16,000 to a bail bondsman. The following day, Mr.
     3 Kyle knowing that he did not consume any alcohol discovered that he had a
     4 remedy available to him, Mr. Kyle visited a certified medical laboratory and
     5 conducted a urine test. Plaintiff was later informed that the results ofthe urine test
     6 were in fact negative. Because the SCRAM Device is not specific to detecting
    '1 ethanol that is contained in drinking alcohol, and detects all alcohol vapors
     g   regardless oftheir source, the gradual buildup ofthe alcohol vapors released in the
     9 environment, Defendants'"algorithm" determined that the readings constituted an
    10 "alcohol monitoring event" simply based on the fact that there was a gradual rise
    11   and fall in the concentration of alcohol vapors detected by the SCRAM Device
    12 under the cover.
    13         78.   The results ofPlaintiff's urine test came back negative for the
    14 presence of ethyl glucuronide, indicating that Plaintiff had not consumed alcohol
    15 on Apri12, 2016. Several days later, SCRAM sent Plaintiffs attorney copies of the
    16 SCRAM report. The very consumption report that the Defendants' SCRAM and
    17 AMS orchestrated, turned out to be false. In fact, the SCRAM employee turned
    18 over copies of an emails from SCRAM to the Superior Court. In that very email
    19 from the SCRAM employee,the email states that Mr. Kyle not only tampered with
    20 the SCRAM device, but also that [Alcohol was detected during this same time
    21   period][emphasis in original].
    22         79.   To further show that the Defendants products are flawed and corrupt,
    23 the SCRAM Defendants contradicted themselves. In yet another report that was
   24 generated by the SCRAM Defendants, an employee prepared a SCRAM violation
   25 report that the Plaintiff had now tampered with the SCRAM Device and in this
   26 new report, the SCRAM employee now states for the very first time that SCRAM
   27 Device had detected no consumption of alcohol. This clearly now contradicts what
   28 the SCRAM Defendants and employees testified about to in Mr. Kyle's underlying

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   1   criminal case. The Defendants and employees are so corrupt that SCRAM and their
   2 employees were unable to piece together their stories, much less make the pieces
   3 ofthe puzzle fit to overcome the facts that Mr. Kyle did not consume any alcohol
   4   as the Defendants false and misleading statements of Mr. Kyle using alcohol was
   5 in fact refuted by scientific evidence.
   6         80.     On May 31, 2016, Mr. Kyle appeared at sentencing for his original
   7 DUI criminal matter. While at the hearing, a SCRAM employee appeared and
   g   testified at the sentencing for the Court on behalf of SCRAM. The employee
   9 testified in Court that the SCRAM and AMS ankle bracelet can in fact tell the
  10   difference between actual alcohol consumption and a person using actual
  11   environmental products that contain alcohol ingredients. Further, the SCRAM
  12 employee testified that the SCRAM and AMS ankle bracelet has been accepted
  13 into the scientific evidence community even though it was not. The SCRAM
  14   employee clearly not only committed perjury in Mr. Kyle's underlying sentencing,
  15   but also provided a bias testimony.
  16         81.     Coincidentally, the SCRAM employee was the case manager that Mr.
  17 Kyle was required to report to for SCRAM monitoring. In fact, this was the very
  ig   same employee that Mr. Kyle continued to complain to about the costs ofSCRAM
  19   monitoring.

  20         82.     Mr. Kyle paid a total of$ 2,400.00 to Scram of California for their
  21   said corrupt Defendants alcohol monitoring service.
  22         83.     Mr. Kyle paid a total of$ 650.00 for a certified urine test from a state
  23 certified laboratory.
  24         84.     Additionally, Ms. Oh also paid $ 1,000 for attorney fees to her private
  25   attorney to defend against the alleged SCRAM violation.
  26         85.     Had Mr. Kyle known or been aware that the SCRAM Device
  27 registered false positive test results, did not timely inform the user when the device
  28   was detecting the presence of alcohol vapors, and that Defendants AMS and

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   1   SCRAM would not timely inform Mr. Kyle once they had determined that an
   2 alleged alcohol monitoring event occurred, he would have never agreed to
   3 purchase Defendants alcohol corrupt monitoring service as a condition of his bond,
   4 or would have tried to locate another AMS and SCRAM monitoring company.
   5                                ADDITIONAL FACTS
   6         86.    Since 2010, a few years after the State Defendants entered into a said
   7 written contract with the Corporate Defendants, over 50,000 criminal Defendants,
   g   innocent people, and citizens have been sent back to jail due to the corrupt and
   9 false device that SCRAM and AMS have produced, and continue to produce. Even
  10 though Defendants BROWN and HARRIS have been placed on advance notice
  11   that SCRAM and AMS produce products that result in wrongful convictions and
  12 jail time, BROWN and HARRIS continue to look the other way and continue to
  13 operate on the "good ole boy system."
  14         87.    To date, SCRAM and AMS have created their own police, probation
  15 and parole systems. In which SCRAM and AMS have taken over and granted not
  16   only immunity for everything they do, but also continue to make "heavy"
  17 campaign contributions to Judges and District Attorneys nationwide. Both AMS
  ig   and SCRAM does anything they want and they do anything that strikes their fancy.
  19         88.   Plaintiffs inability to have the contract severed between the State
  20 Defendants and the Corporate Defendants has caused them significant hardship
  21   including but not limited to the deprivation ofrights guaranteed by the Fourteenth
  22 Amendment and among other things, severe humiliation, emotional distress, pain,
  23 suffering, psychological harm, and stigma. Each day that the Plaintiffs and others
  24 are placed on SCRAM and AMS,suffer irreparable harm as a direct result ofthe
  25 State and Corporates Defendants contract that amounts to violations oftheir said
  26 and well established constitutional rights.
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   1         89.   Ifthe contract between the State and Corporate Defendants are not
   2 enjoined, Defendants SCRAM and AMS will not only continue to incarcerate
   3 innocent people, but will continue their criminal and despicable unconstitutional
   4 law against Plaintiffs and all other innocent people, thereby depriving them oftheir
   5 constitutional rights under the Fourteenth Amendment. More often then not, due to
   6 the reports filed by SCRAM and AMS with the Courts, the trial Court will almost
   7 every time issue a bench warrant in chambers without ever even holding a hearing
   g   to determine whether or not the SCRAM and AMS wearer is actually in violation
   9 oftheir SCRAM conditions without ever coming to realize that it is well known
  10 that the SCRAM Device, which is just like a cell phone, computer, iPad, iPod, and
  11   other electronics, breaks down, doesn't work anymore, and simply needs to be
  12 fixed. In this case, SCRAM and AMS almost never fix, maintenance, or calibrate
  13 their corrupt devices.
  14         90.   The declaratory and injunctive relief sought by Plaintiffs, on the other
  15 hand, will require Defendants BROWN and HARRIS to revise and/or severe their
  16   contracts with SCRAM and AMS. The relief sought also will require the Corporate
  17 and State Defendants to recognize that the SCRAM Device is corrupt and false,
  ig   and the contract between the parties need to be investigated by the United States
  19 Grand Jury foreperson for the Central District of California, Mr. John Medina.
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   1                     PLAINTIFF'S FIRST CAUSE OF ACTION
   2            (Due Process —14th Amendment United States Constitution)
   3                               Plaintiffs v. All Defendants
   4         91.    Plaintiffs incorporate herein by all said referenced paragraphs as if
   5 fully set forth herein.
   6         92.    The written contracts between the State Defendants and the Corporate
   7 Defendants violates fundamental liberties that are protected by the Due Process
   g   Clause, both on its face and as applied to Plaintiffs.
   9         93.    The contracts between the Defendants, and each ofthem,impinges on
  10 fundamental liberties by denying persons and Defendants a hearing to determine
  11   whether or not the actual wearer has violated terms oftheir SCRAM conditions.
  12 For example, Defendants SCRAM and AMS routinely send false reports to the
  13 Superior Court of California for various reasons that almost never have anything to
  14   do with actual consumption of alcohol. In fact, almost every report that is sent to
  15   the Court is due to failure to pay SCRAM and AMS for their monitoring services,
  16   complaining about high end exuberant fees, or failure to lie for SCRAM staff in
  17 order to gain contracts with other government agencies, thereby denying the due
  18 process rights ofthe accused.
  19                   PLAINTIFF'S SECOND CAUSE OF ACTION
  20                (Violation of Federal Civil Rights — 42 U.S.0 § 1983)
  21                               Plaintiffs v. All Defendants
  22         94.    Plaintiffs incorporate herein by all said referenced paragraphs as if
  23 fully set forth herein.
  24         95.    Insofar as they are enforcing the contracts between each ofthe
  25 Defendants, acting under color of state law, are depriving and will continue to
  26   deprive Plaintiffs of numerous rights secured by the Fourteenth Amendment to the
  27 United States Constitution in violation of42 U.S.0 § 1983.
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       1                                  IRREPARABLE INJURY
       2            96.    Plaintiffs incorporate herein by all said referenced paragraphs as if
       3 fully set forth herein.
       4            97.    Plaintiffs are now severely and irreparably injured by the contract that
       5 is currently in play between each ofthe Defendants. The contract among the said
       6 Defendants violates the well-established Due Process and Equal Protection Clauses
       7 ofthe Fourteenth Amendment.
       g            98.    By way of example only, Plaintiffs' injury includes the deprivation of
       9 rights guaranteed by the well-established Fourteenth Amendment and the severe
      10 humiliation, emotional distress, pain, suffering, psychological harm, and stigma.
      11            99.    The Plaintiffs' injuries will be redressed only if this Court declares
      12 that the contract with the State and Corporate Defendants are unconstitutional and
      13      enjoins the Defendants from continuing to enforce the said written contract.
      14            100. Even in the face of conclusive evidence that people and criminal
      15 Defendants are innocent, Defendants, and each ofthem continue to conceal their
      16 lies, incompetence, and violations of Constitutional Rights causing all citizens of
      17 the State of California further pain, suffering, and days, if not years in jail all while
      18 the Corporate Defendants SCRAM and AMS stuff their wallets with billions of
      19      dollars each day. They are incredulous in their actions, claiming that their device
      20 can tell the difference between consumption of alcohol, and environmental
      21      products with alcohol. In point of fact, however, the justice systems failed to
      22 protect innocent persons against the financial greed and ambitions of in-concert
      23 government agents who again, continue to stufftheir wallets with billions of
      24      dollars each day, who used the State Defendants to obtain the power and trust
      25      under color oflaw to deprive the Plaintiffs and other citizens their constitutional
      26 rights. Were it not for Anthony Oliver, and his proclamation and pursuit of
      27 innocence and unwillingness, innocent people would still be rotting away in a jail
      28      cell somewhere.

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.       1          101. Mr. Oliver spends his time and financial resources to traveling the
        2   globe to testify as an expert and advisor in alleged SCRAM violations all over the
        3   Country.
        4                     PLAINTIFF'S THIRD CAUSE OF ACTION
        5                                (Permanent Injunction)
       6                                Plaintiffs v. All Defendants
        7          102. Plaintiffs incorporate herein by all said referenced paragraphs as if
       8    fully set forth herein.
       9           103. Defendants wrongful conduct as alleged, unless and until enjoined and
       10   restrained by order ofthis Court, will cause great and irreparable injury to yjr said
       11 Plaintiffs and all similarly situated individuals.
      12           104. Plaintiffs and all other similarly situated individuals have no adequate
      13    remedy at law for their injuries. The Defendants are unrestrained in their ability to
      14    waste hard earned taxpayer money, and can escape liability by using the great
      15    governmental power and resources entrusted to them by the People ofthe State of
      16    California. If left unfettered, Defendants, and each ofthem, can systematically and
      17    continuously violate the Constitutional rights of individuals, including Plaintiffs.
      18           105. There are absolutely no countervailing benefits to violating the well-
      19    established Constitutional rights of individuals, and as long as Defendants are
      20    allowed to continue to investigate, incarcerate, and wrongfully brutally assault
      21    persons in their custody for their own personal greed and selfish ambitions, the
      22    public, including the Plaintiffs, will continue to be irreparably harmed.
      23          106. Therefore, the Court should order the State Defendants to terminate
      24    their contract with SCRAM and AMS until further investigations against the
      25    SCRAM and AMS Defendants are prevented to continued violations ofthe
      26    Plaintiffs and all other similarly situated person's rights guaranteed by the United
      27    States Constitution.
      28


                                                     -28-
                                      PLAINTIFFS' COMPLAINT FOR DAMAGES
. .~ i
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                107. Therefore, the Court should order the California Attorney General,
   2     and the United States Attorney to investigate the SCRAM and AMS Defendants to
   3     ensure that they have not violated the laws ofthe State of California.
   4            108. Therefore, the Court should, as requested by Plaintiff Anthony Oliver,
   5     order the United States Grand Jury foreperson for the Central District of California,
   6     Mr. John Medina to issue a federal indictment against the SCRAM and AMS
   7     Defendants;
   8            109. Furthermore, the Court should order the Defendants BROWN and
   9     HARRIS and Superior Court of California(by and through its agents,judicial
   10    officers and employees ofthe State)to require their agents,judicial officers and
   11    employees to undergo additional and mandatory training and testing to ensure their
  12     agents,judicial officers and employees understand and comply with their legal
  13     duties as officers ofthe Court to ensure that the rights ofthe accused shall not be
  14     abridged due to the Defendants SCRAM and AMS. These conditions, procedures,
  15     policies and conditions are complied with under State and Federal law. All persons
  16     and Defendants who are charged with an alleged SCRAM violation are entitled to
  17     an evidentiary hearing to prior to the issuance of an arrest warrant.
  18

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                                   PLAINTIFFS' COMPLAINT FOR DAMAGES
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   1                                PRAYER FOR RELIEF
   2   WHEREFORE,Plaintiffs Anthony Oliver and James Kyle pray for judgment as
   3   follows:
   4          1.     Therefore, the Court should order the State Defendants to terminate
   5   their contract with SCRAM and AMS until further investigations against the
   6   SCRAM and AMS Defendants are prevented to continued violations of the
   7   Plaintiffs and all other similarly situated person's rights guaranteed by the United
   8   States Constitution.
   9         2.      Therefore, the Court should order the California Attorney General,
  10   and the United States Attorney to investigate the SCRAM and AMS Defendants to
  11   ensure that they have not violated the laws ofthe State of California.
  12         3.      Therefore, the Court should, as requested by Plaintiff Anthony Oliver,
  13   order the United States Grand Jury foreperson for the Central District of California,
  14   Mr. John Medina to issue a federal indictment against the SCRAM and AMS
  15   Defendants;
  16         4.      Furthermore,the Court should order the Defendants BROWN and
  17   HARRIS and Superior Court of California(by and through its agents,judicial
  18   officers and employees ofthe State)to require their agents,judicial officers and
  19   employees to undergo additional and mandatory training and testing to ensure their
  20   agents,judicial officers and employees understand and comply with their legal
  21   duties as officers ofthe Court to ensure that the rights of the accused shall not be
  22   abridged due to the Defendants SCRAM and AMS. These conditions, procedures,
  23   policies and conditions are complied with under State and Federal law. All persons
  24   and Defendants who are charged with an alleged SCRAM violation are entitled to
  25   an evidentiary hearing to prior to the issuance of an arrest warrant.
  26         5.      Plaintiffs Anthony Oliver and James Kyle respectfully request that
  27   this Court, pursuant to 42 U.S.C. § 2201, construe the contract between the
  28   Corporate and State Defendants and enter a declaratory judgment stating that this

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                                PLAINTIFFS' COMPLAINT FOR DAMAGES
a   Case 2:17-cv-00237-SVW-AJW         Document 1 Filed 01/11/17          Page 31 of 35 Page ID
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        1    contract and any other California law that confi nues t4 recognize this contract
        2 violates fhe Due Process and Equal Protection ~Iauses ofthe Fourteenth
        3 Amendments to the United States Constitution and 42 U.S.G. § X93.
        4             6.    Plaintiffs Anthony Oliver.and James Kyle request that this Court enter
        5    a preliminary and a permanent injunction enjoining enforcement or applications of
        6 the contract with the State Defendants.
                                             an
        7             7.    Plaintiffs Anthony C)liver and dames Kyle:request posts ofsuit? and all
        8 other further relie~to which they may be~justly entitled.
        9
        10 Respectfully
                 tfu submitted,.                                                                         ~
        11   Dated:         January 1 I~', ZU17        By;                                            _ i,
        12                                                   Anthony Oliver,PlaintiffPro Se
                                                             1717 McKinney Avenue, Suite # 700
        13
                                                             Doll ,T~xas,75202
        14                                                  (818' 624~ 2504(telephone)
                                                            (8.18} 2275030(fa s' 'le}
        15
                 Respectfully submitted,
        lb
             Dated:         January 11'x, 2Q17        By:
        1z
                                                             James~Kyle,P~ tiffPro Se
        18                                                   140Q Greenfiel Avenue,# 14Q
                                                             Ei Caja ,California 92x21
        19
                                                            (760)f 2-4400(telephone)
        20                                                  ($1$) 27-5030 (facsimile]
        21

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                                           PLAINTIFFS' COMPLATN'C FOIi.DAMAGES
Case 2:17-cv-00237-SVW-AJW      Document 1 Filed 01/11/17     Page 32 of 35 Page ID
'. ` . i                              #:32




    1                               NRY TRIAL DEMANDED
    2       Plaintiffs Anthony Oliver and James Kyle is:entitled to and demands,a trial.
    3 by jury pursuant to Seventh Amendment to the United Sta~~s G4nst tution.
    4

    5 Respectfully submitted,

         Dated:     January 11~, X01'7     ~y;                 ~.1
     7                                          Anthony Oliver,PlaintiffPro Se
                                                1717 cKinney Avenue, quite # 700.
    8
                                                Dal   Texas,75202
     9                                         (81) 24-254(teleph ~~
                                               (81) 7-5Q30(~ac~` lei
    10
         Respectfully submitted,.
    i1
         Dated:      January 11~', 2017
    12
                                                James le, plaintiffPra Se
    13                                          1400 G nfiel+d Avenue,# 140
                                                El Caiori. California 9202:1
                                               (76~)622-4400(telephone)
    15                                         (~18)227-5030(facsimile).
    16
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                                               -~~-
                                          COMPLAINT FQR DAMAGES
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                                                       ~               #:33~                                         c~Page 33 of 35 Page ID
 '
 ~          ~`                         UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                                      CIVIL COVER SHEET

 .
 1 (a)PLAINTIFFS (Check box ifyou are representing yourself Q)                     DEFENDANTS             (Check box if you are representing yourself Q )

 AMHONY OLIVER,an individual;JAMES KYLE,an individual;                             Scram of California,Inc., et aL

(b)County of Residence of First Listed Plaintiff Dallas                            County of Residence of Frst Listed Defendant             Los Angeles
(EXCEPTIN US.PLAIMIFfCASES)                                                        pN US.PLAINTIFFCASES ONL1~
(c) Attorneys(Firm Name,Address and Telephone Number) if you are                   Attorneys(Firm Name,Address and Telephone Number) If you are
 representing yourself, provide the same information.                              representing yourself, provide the same information.
 Anthony Oliver, PlaintiffPro Se
 1717 MclGnney Avenue,Suite ~ 700
 Dallas,Texas,75202                                                                Unknown
 818-6242504
11. BASIS OF JURISDICTION (Place an X in one box only.)                    111. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                (Place an X in one box for plaintifFand one for defendant)
    t.US.Government               ~3. Federal QueStiOn(US.                                          ~ ~ 0~i Inwrporated or Principal Place      ~ 4 aF 4
                                                                           Cozen ofThis State
    Plaintiff                      Government Not a Party)                                                         of Business in this State
                                                                           Citizen of Another State ~ 2 ~ 2 Incorporated and Principal Place ❑ 5 ~ 5
                                                                                                                   of Business in Another State
    L US.Government                   4. Diversity (Indicate Gtizenship    Ctaen or Subjectofa
❑                                 ❑                                                                     g      3 Foreign Nation                 ~ 6 ~ 6
    Defendant                         of Parties in Rem III)               Foreign Country          ❑       ❑

~v.uK~~iN (N~ace an x in one box orny.)
    1.Original   ❑ 2.Removed from ❑ 3.Remanded from ❑ 4. Reinstated or                             s.nn~~sa~sa~cc                                B. Multidistrict
                                                                        5.Transferred from Mother ~ Litigation -                            ~       Litigation -
      Proceeding     State Court        Appellate Court Reopened       ~ District (Specify)          Transfer                                       Direct File

V.REQUESTED IN COMPLAINT: JURY DEMAND: ~ Yes ~ No                                   (Check "Yes" only if demanded in complaint)

CLASS ACTION under F.R.Cv.P.23:                  ~Yes ~ No                      ~ MONEY DEMANDED IN COMPLAINT: S
VI. CAUSE OF ACTION (Cte the US.Civil Statute under which you are filing and write a briefstatement of cause. Do not atejurisdictional statutes unless diversity.)
42 US.C.1983- Volation of Federal Civil Rights

VII. NATURE OF SUIT(Place an X in one box only).
    OTHER STATUTES                CONTRACT      REALPROPERTYCONT.         IMMIGRATION               PRISONER PETITIONS           PROPERTY RIGHTS
    375 False Claims Act    ❑ 170 Insurance     ~ 240 Torts to Land    ~ 462 Naturalization            Habeas Corpus:        ~ 820 Copytight5
                                                                         APP~~~non
   376 Qui Tam             ❑ 120 Marine         ❑ 245Tort Product                                 ~ 463 Alien Detainee       ~ 830 Patent
                                                    Liability            465 Other                   510 Motions io Vacate
 (31 USC 3729(a))                                                                                                            ❑ 840 Trademark
                             130 Miller Act     ~ 290 All Other Real   ~ Immigration Actions ~ Sentence
   400 State
                           ~  140 Negotiable        P~~                        TORTS              ❑  530 General                  SUCIALSECURITY
   Reapportionment            Instrument                 TORTS         PERSONAL PROPERTY             535 Death Penalty
                                                                                                  ~                            861 HIA(1395ifl
❑ 470 Mtitrust                750 Recovery of    PERSONALINJURY
                                                                         370 Other Freud                     Other           ❑ 862 Black Lung(923)
   430 Basks and Banking ❑ Over           nt&      310 Air lane        ~
                             Enforcemnt of      ~ 315 Airplane
                                                           P           ~ 371  Truth  in Lendin 9  ❑  540 Mandamus/Other ❑ 863 DIWUDIWW(405(g))
   450 Commerce/ICC          Judgment           ❑ product LiabilitY
   Rates/Etc                                                             380 Other Personal ❑ 550 Crvil RI9hts               ~ 864SSIDTitle XVI
                           ❑ ~ 51 Medicare Act     320 Assauk,Libel & ~ Property Damage              555 Prison Condition
  460 De oration                                                                                  ❑                          ❑ 865 R51(405 (g))
          P                                     ~ Slander
   470 Racketeer Influ-      152 Recovery of                             385 Property Damage         560 Civil Detainee
                                                  330 Fed.Employers' ❑ p~uct Liability            ❑  Conditions   of
   enced & CorruPt Or9• ❑    Defauked   Student ~ Liability                                                                      FEDERAL TAXSURS
                             Loan (Excl.Vet)                              BANKRUPTCY                 Confinement
  480 Consumer Credit                           ~ 340 Marine                                                                   870Taxes(U.S. Plaintiff or
  490 Cable/Sat N            153 Recovery of                           ~ 422 Appea128              FORFEITURE/PENALTY - ❑ pefe~dant)
                                                  345 Marine Product
                             Overpayment of ❑ Liability                  USC 156                     625 Drug Related          871 IRS-Third Party 26 USG
   850 Securities/Com-       Vet Benefits       ❑                                  drawal Z8 ~                 f Property 21   7609
   modities/Exchange                               350 Motor Vehicle   ❑ USC~                        USC 8B7
                             160Stockholders'                                   7
   890 Other Statutory     ~ Suits                 355 Motor Vehicle       CIVIL RIGHTS           ❑ 690 Other
   Actions                                      ~ ProduttLiabil'ity
                                                  360 Other Personal ~   ~0   Other  Civil Rights           ~B~R
   891 Agricultural Ads ❑ ~~ref
                             Contract           ❑ Injury               ~ 441 Voting               ~ 710 Fair Labor Standards
  893 Environmental          195 Contract
   Matters                                        362 Personal In u                                  A~
                             product Liability ~ Med Malpratice ry ❑ ~2EmP~oyment                 ~ 720 Labor/M9mt.
  895 Freedom of Info.     O                                                                         Relations
❑ p~                       ~ 196 franchise        365 Personal Injury- ~ ~3 Housing/
                                                  Product Liabili        Accommodations
                                                                    ty                            ❑  740 Railway Labor Act
  896 Arbitration           REALPROPERTY
                                   --                                    445 American with
                                                  367 Health Care/                                   ~5~ Tamil and Medical
                             210 Land           ~ Pharmaceutical       ❑ Disabilities-            ❑ Leave Acty
  899 Admin.Procedures       Condemnation          Personal Injury       ~P~oyment
~ AcVReview of Appeal of ~                         Product   Liability   446  American   with     ~  790 Other Labor
  Agency Decision            ~0foreclosure
                                                   368 Asbestos        ~ Disabilities-Other          Litigation
  950 Constitutionality of ~ 230 Rent Lease & ~ personal Injury        ~ q4g Education            ~ X91 Employee Ret.Inc.
  State Statutes             E'ectment            Product Liabil'                                    Security Ad

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                                  ~.
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                                                                                #:34
                                          UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                                            CIVIL COVER SHEET

 VIII. VEPIUE: Your answers to the questions below will determine the division of the Courtto which this case will be initially assigned. This initial assignment is subject
 to change,in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.
QUESTION A: Wasthis case removed
from state court?                                                SPATE CASE WAS PENDING 1N THE COUMY OF                                   INITIAL DMSION IN CACD I5:
            ❑ Yes ~ No
                                                  Los Angeles,Ventura,Santa Barbara,or San Luis Obispo                                               Western
If"no,° skip to Question B. IF'~res,'check the
box to the right that applies,enter the        ❑Orange                                                                                               Southern
corresponding division in response to
Question E, below,and continue from there. ❑Riverside or San Bernardino                                                                               Eastern


QUESTION B: Is the United States,or 6.7. Do 5096 a more ofthe defendants who reside in                     YES. Your mse will initially be assigned to the Southern Division.
one of its agenciesor employees,a   the district reside in Orange Co.?                                   ~ Enter"Southern" in response to Question E,below,and continue
PLAINTIFF in this action?                                                                                  from there.
                                    che[kone ofthe boxesfo the right   ~'~
                Yes Q No
                                                                                                         ~ NO. Continue to Question 62.

                                                B.2. Do 5096 or more ofthe defendants who reside in        yES, Your case will initially be assigned to the Eastern Division.
If'no,"skip to Question G If'yes,"answer        the district reside in Riverside and/or San Bernardino
Question B.1,at right                                                                                      Enter "Eastern'in res onse to Question ~, below,and continue
                                                Counties? (Consider the two counties togethera           ~ from there.           P

                                                checkone oflhe boxes to the right    ~r                        NO. Your case will initially be assigned to the Western Division.
                                                                                                               Enter'Wes6ern'in response to Question E, below,and continue
                                                                                                               from there.

QUESTION C: Is the United States,or C.7. Do SO% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Southern Division.
one of its a9endes or emPtoYees,a   district reside in Orange Co.2                          ~ Enter "Southern'(n response to Question E, below,and continue
DEFENDANT in this action?                                                                     from there.
                                    check one ofthe boxes to the right   ~~
                Yes Q No
                                                                                            ~ NO. Continue to Question C2.

                                                C.2. Do 5096 or more ofthe plaintiffs who reside in the   YES. Your case will initial) be asst ned to the Eastern Division.
If"no,"skip to Question D. If'yes,"answer       disfict reside in Riverside and/or San Bernardino                                     y to Question
                                                                                                                                              9
Question C.t,at ri9ht                                                                                   ❑ Enter °Eastern" in response               E, below,and continue
                                                Countiesi (Consider the two counties together.)           from there.
                                              [heckone o/the boxes to the right     ~                        NO. Your case will initially be assigned to the Western Division.
                                                                                                             Enter'Westem"in response to Question E, below,and continue
                                                                                                             from there.
                                                                                                          A.                          B.                          C.
QUESTION D: Location of plaintiffs and defendants?                                                                             Riverside or San         Los Angeles,Ventura,
                                                                                                  Orange County              Bernarcli~o County         Santa Barbara,or San
                                                                                                                                                         Luis Obispo'County
Indicate the locations)in which 5096 or more of plainti/fs who reside in this district
reside.(Check up totwo boxes,or leave blank if none ofthese choices apply.)
Indicate the locations)in which SO% or more of Aefendants who reside in this                             ~                           ❑
drsrrict reside. (Check up to two boxes,or leave blank if none ofthese choices
ap I .)

               D.7. Is there at least one answer in Column A?                                            D.2. Is there at least one answer in Column B?
                                      Yes       ❑ No                                                                      ~ Yes         ~ No
                   If'yes," your case will initially be assigned to the                                    If'yes," your case will initially be assigned to the
                               SOUTHERN DIVISION.                                                                         EASTERN DNISION.
    Enter "Southern"in response to Question E, below,and continue from there.                              Enter'Eastern'in response to Question E, below.
                        If"no;go to question D2to the right           ~,                             If'no," your case will be assigned ro the WESTERN DIVISION.
                                                                                                           Enter"Western'in response to Question E, below.               J,

QUESTIONf:lnitial Division?                                                                                           INITIAL DIVISION JN CACD
Enter the initial division determined by Question A, B,C,or D above: ~~                                                        WESTERN
QUESTION F: Northern Counties?

Do 5095 or more of plaintiffs or defendants in this district reside in Ventura,Santa Barbara,or San Luis Obispo counties?                       ~ Yes             ~ No
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 '
 '                                        UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                               CIVIL COVER SHEET

 IX(a). IDEINTICAL CASES: Has this action been previously filed in this court?                                                           0 NO                ~ YES

        If yes,list case number(s):

IX(b).RELATED CASES: Is this case related (as defined below)to any civil or criminal cases) previously filed in this court?
                                                                                                                                         0 NO                ~ YES
        If yes,list case number(s):


        Civil cases are related when they(check all that apply):

                   A. Arise from the same or a closely related transaction, happening,or event;
                    B. Call for determination ofthe same or substantially related or similar questions oflaw and fact;or

                   C. For other reasons would entail substantial duplication oflabor if heard.by differentjudges.

        Note: That cases may involve the same patent,trademark,or copyright is not,in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal wse are related when they(check all that apply):

                   A. Arise from the same or a closely related transaction, happening,or event;

                   B. Call for determination ofthe same or substantially related or similar questions of law and fact;or
                    C. Involve one or more defendarrts from the criminal case in common and would entail substantial duplication of
                    labor if heard by differentjudges.


 X. SIGNATURE OF ATTORNEY
(ORSELF-REPRESENTED LITIGANT):                                                                                                 DATE:          ~ — 11

Notice to Counsel/Parties: The submission ofthis Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required bylaw,except as provided by local rules of court. For
more detailed instructions,see separate instruction sheet(N-071 A).




Key to Statistical codes relating to Sodal Security Cases:

     Nature ofSuit Code       Abbreviation                   Substantive Statement of Cause of Action
                                                  All claimsfor health insurance bents(Mediore)under Title 18,Part A,ofthe Social Security Act,as amended. Also,
        861                      HIA              include claims by hospitals,skilled nursing facilities,etG for certification as providers ofservices under the program.
                                                 (42 US.G 1935FF(b))
        862                      BL               All claims for'Black Lung" benefiu under Title 4,Part B,ofthe Federal Coal Mine Health and Safety Act of 1969.(30 US.C.
                                                  923)

        863                      DIWC             A~~ claims filed by inwred workersfor disability insurance benefits under Title 2 ofthe Social Security Act,as amended;plus
                                                  all claims filed for child's insurance benefits based on disability. (42 US.G 405(g))

        863                      DIWW             All claims filed for widows or widowers insurance benefits based on disability under Title 2ofthe Social Security Act,as
                                                  amended.(42 US.0405(g))

        864                      SSID             All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Ad,as
                                                  amended.

        865                      R51              All claims for retirement(old age)and survivors benefits underTdle 2of the Social Security Act,as amended.
                                                 (42 US.04U5(g))




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